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                                 BOB JONES UNIVERSITY
                                                        EST. Jl)27




April 1, 2016



Ms. Catherine Lhamon, Assistant Secretary
U.S. Department of Education, Office for Civil Rights
Lyndon Baines Johnson Department of Education Building
400 Maryland A venue, SW
Washington, DC 20202-1100

Re: Request for Religious Exemption from Certain Applications of Title IX

Dear Ms. Lhamon:

I hereby request, under 20 U.S.C. § 1681 (a)(3) and 34 C.F.R. § 106.12, that the Department of
Education's Office for Civil Rights acknowledge that Bob Jones University is exempt from Title
IX of the Education Amendments of 1972 and its accompanying regulations, to the extent that
they are interpreted to curtail the University's freedom to act in accordance with its religious
convictions. As president of Bob Jones University, I am the "highest ranking official of the
institution," 34 C.F.R. § 106.12(b), and thus qualified to seek these exemptions.

Bob Jones University (BJU) was founded in 1927 as a Christ-centered institution of higher
education, emphasizing theology and the arts.' BJU is committed, "[w]ithin the cultural and
academic soil of liberal arts higher education," to "grow[ing] Christlike character that is
scripturally disciplined, others-serving, God-loving, Christ-proclaiming and focused above." 2

BJU is completely controlled by a religious organization: its Board ofTrustees. 3 Al! board
members are like-minded Christians who are required annually to read and indicate consent to
the University Creed, which states as follows:

1   See http:/ /www.bju.edu/about/history.php.
2   See http://www.bju.edu/about/mission-statement.php.
:i Bob Jones University Policy Manual, Vol. I, Bylaws, Article Ill, Section 1, p.8; Bob Jones University Policy
Manual, Volume I, Section 1.5.2.1, p.35.




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                                         -       Blvd .. Greenville. SC 29614 (864) 242-stoo fox (864) 233-9829 www.bju.edu

    EXHIBIT B                                                                                                                 1
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        The general nature and object of the corporation shall be to conduct an institution
        of learning for the general education of youth in the essentials of culture and in
        the arts and sciences, giving special emphasis to the Christian religion and the
        ethics revealed in the Holy Scriptures, combating all atheistic, agnostic, pagan,
        and so-called scientific adulterations of the Gospel, unqualifiedly affirming and
        teaching the inspiration of the Bible (both the Old and the New Testaments); the
        creation of man by the direct act of God; the incarnation and virgin birth of our
        Lord and Saviour, Jesus Christ; His identification as the Son of God; His
        vicarious atonement for the sins of mankind by the shedding of His blood on the
        cross; the resurrection of His body from the tomb; His power to save men from
        sin; the new birth through the regeneration by the Holy Spirit; and the gift of
        eternal life by the grace of God. This charter shall never be amended, modified,
        altered or changed as to the provisions hereinbefore set forth.4

Board members must also annually read and consent to the mission statcment 5, as well as the
general objectives of the University as set forth in the bylaws and charter 6, and the University's
philosophy of education statement 7 (copies of which are enclosed). 8 Every member of the Board
is required to indicate that they have read the Board Handbook and Bylaws and are in agreement
with them. 9 Board members who can no longer agree to these items disqualify themselves from
membership. 10

Additionally, BJU serves a particular constituency of independent, fundamental churches, and its
mission is, in part, to develop individuals who are "engaged in service and leadership in a
biblically faithful local church."

Not only does the University rely on and require all members of its governing board to affirm the
University Creed, it also requires its faculty to do so as well, since the creed is foundational to all
that it does, including what is taught in its classes 11 .

The Board of Trustees and the University submit themselves to the Bible and to these
expressions of its doctrine and seek to take positions that are in accord with those standards,

4 Bob Jones University   Policy Manual, Vol. I, Preamble to Charter and Bylaws of Bob Jones University, p. 7.
s See hnp://www.bju.edu/about/mission-statemcnt.php.
6 Bob Jones University Policy Manual, Vol. I, Preamble to Charter and Bylaws of Bob Jones University, p. 7.
7 Bob Jones University Policy Manual, Vol. I, Section 1.2.3, p. 6.
8 Bob Jones University Policy Manual, Vol. I, Section 1.4.1.3( 1), p.21.
9 Bob Jones University Policy Manual, Vol. I, Section 1.4.1.2(2), p. 21.
10 Bob Jones University Policy Manual, Vol. I, 1.4.1.3(2), p.21.
11Bob Jones University Policy Manual, Vol. I, Preamble to Charter and Bylaws of Bob Jones University, p. 7;

Section, 1.4.1.3, p.21; Bob Jones University Policy Manual, Vol. IV, Section 4.5.2.1.1, p. 28.




 EXHIBIT B                                                                                                      2
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including with respect to how BJU's president is chosen and who is scripturally qualified to
preach the Scripture. As articulated in its Presidential Profile (enclosed), BJU's Board of
Trustees requires that its president possess certain personal traits because the president is not
only chief executive of a large and complex educational institution, but also the spiritual leader
of a religious community.

Although BJU does not expressly require that its president be male, a "candidate must be an
ordained preacher who is an able, evangelistic, biblically qualified, inspirational and biblically
sound preacher of the inerrant Word." 12 The same section of the policy manual refers to the
passages of Holy Scripture that set forth the criteria for ordained preachers (and thus, indirectly,
for the president of BJU). 13 Those passages reveal that ordained preachers must be male. 14
Because BJU's selection criteria for its president are drawn directly from the Bible, and thus are
based upon BJU's religious tenets, BJU requests exemption from Title IX and its accompanying
regulations to the extent that they are interpreted to reach BJU's selection of its president, and
any other positions at BJU for which ordination is a qualification.

BJU does not have any written policies expressing the qualifications of speakers for its
conferences or other events; the president selects speakers at his discretion. Regarding those
who will preach the Bible at conferences or other events, the president customarily begins with
ordained preachers with whom he is familiar, possessing knowledge of their ministries, their
orthodoxy, and their degree of agreement with BJU 's understanding of Christian doctrine.
Speakers who will not preach the Bible need not be ordained. Both men and women have
spoken at campus events and conferences. However, it is the University's sincerely held belief
that only males may be ordained to the preaching and pastoral ministry.

Because its conference speaker selection criteria are based upon its religious tenets, BJU requests
a religious exemption to the extent that Title IX or its accompanying regulations are interpreted
to include selection of conference speakers or reach BJU's selection of Bible preachers in any
other context.

Specifically, BJU requests, under20 U.S.C. § 1681(a)(3) and 34 C.F.R. § 106.12, that the
Department of Education's Office for Civil Rights acknowledge that BJU is exempt from Title
IX of the Education Amendments of 1972 and the following implementing regulations, to the
extent that they are interpreted to curtail the University's freedom to fill positions requiring
ordination and select Bible preachers in accordance with its theological commitments:



12
   Bob Jones University Policy Manual, Vol. I, Section 1.4.1.6, p. 24.
13
   Id
14 I Timothy 3; Titus I.




EXHIBIT B                                                                                                3
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       34 C.F.R. § 106.21 (admission)
       34 C.F.R. § 106.22 (preference in admission)
       34 C.F.R. § 106.23 (recruitment)
       34 C.F.R. § 106.31 (education programs or activities)
       34 C.F.R. § 106.32 (housing)
       34 C.F.R. § 106.33 (comparable facilities)
       34 C.F.R. § 106.34 (access to classes and schools)
       34 C.F.R. § 106.36 (counseling)
       34 C.F.R. § 106.37 (.financial assistance)
       34 C.F.R. § 106.38 (employment assistance to students)
       34 C.F.R. § 106.39 (health and insurance benefits and services)
       34 C.F.R. § 106.40 (marital or parental status)
       34 C.F.R. § 106.41 (athletics)
       34 C.F.R. § 106.43 (standards for measuring skill or progress in physical education
       classes)
       34 C.F.R. § 106.51-61 (relating to employment)

Thank you in advance for your consideration. I look forward to hearing from you soon. If you
require anything further, please do not hesitate to contact me.




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EXHIBIT B                                                                                      4
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                          UNITED STATES DEPARTMENT OF EDUCATION
                                               OFFICE FOR CIVIL RIGHTS

June 17, 2016

Steve Pettit
President
Bob Jones University
17 00 Wade Hampton Blvd.
Greenville, S C 296 14

Dear President Pettit:

I write to respond to your April 1, 2016, letter to the U.S.Department of Education's Office for
 Civil Rights (O C R), in which you requested a religious exemption for Bob Jones University
(University) of Greenville, South Carolina, from Title IX of the Education Amendments of 1 972
(Title IX), 20U.S.C.§ 1681. Title IX prohibits discrimination on the basis of sex in any
education program or activity operated by a recipient of Federal financial assistance.

Title IX and its implementing regulation at 34 C.F.R. § 1 06.12provide that Title IX does not
apply to an educational institution controlled by a religious organization to the extent that
application of Title IX would be inconsistent with the controlling organization's religious tenets.
Therefore, such educational institutions are allowed to request an exemption from Title IX by
identifying the provisions of Title IX that conflict with a specific tenet of the religious
organization. The request must identify the religious organization that controls the educational
institution and specify the tenets of that organization and the provisions of the law or regulation
that conflict with those tenets.

Your request explains that members of the University's Board of Trustees, which "completely
control[s]" the University, are "like-minded Christians who are required annually to read and
indicate consent to the University Creed." According to your letter, the Creed states that the
"general nature and object of' the University is to "conduct an institution of learning ..., giving
special emphasis to the Christian religion and the ethics revealed in the Holy Scriptures." Your
letter goes on to state that "Board members must also annually read and consent to the mission
statement, as well as the general objectives of the University as set forth in the bylaws and
charter, and the University's philosophy of education statement." You explain that faculty are
also required "to affirm the University Creed ...since the creed is foundational to all that [the
University] does, including what is taught in its classes."

You request an exemption to the extent that Title IX or its implementing regulations "are
interpreted to reach [the University's] selection of its president, and any other positions at [the
University] for which ordination is a qualification." In support of this request, you explain that
the University's Presidential Profile requires that the University president be an ordained
preacher. You explain that the Presidential Profile is based on biblical requirements that
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                               fostering educational excellence and ensuring equal access.



 EXHIBIT B                                                                                                                5
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Steve Pettit - page 2


ordained preachers be male.

Your letter also requests a religious exemption from certain provisions of Title IX "to the extent
that Title IX or its accompanying regulations are interpreted to include selection of conference
speakers or reach [the University J's selection of Bible preachers in any other context." You
explain that the University "president selects speakers at his discretion" for University
conferences or other events and that both "men and women have spoken at campus events and
conferences" because "[s]peakers who will not preach the Bible need not be ordained."
However, because "it is the University's sincerely held belief that only males may be ordained to
the preaching and pastoral ministry," only men are selected as speakers who will "preach the
Bible at conferences or other events." Specifically, "the president customarily begins with
ordained preachers with whom he is familiar, possessing knowledge of their ministries, their
orthodoxy, and their degree of agreement with [the University's] understanding of Christian
doctrine."

You state that, for these reasons, the University is requesting an exemption from the following
regulatory provisions to the extent they "are interpreted to curtail the University's freedom to fill
positions requiring ordination and select Bible preachers in accordance with theological
commitments:"

   •    34 C.F.R. § 106.21 (governing admission);
   •    34 C.F.R. § 106.22 (governing preference in admission);
   •    34 C.F.R. § 106.23 (governing recruitment of students);
   •    34 C.F.R. § 106.31 (governing education programs or activities);
   •    34 C.F.R. § 106.32 (governing housing);
   •    34 C.F.R. § 106.33 (governing comparable facilities such as restrooms and locker
        rooms);
    •   34 C.F.R. § 106.34 (governing access to classes and schools);
    •   34 C.F.R. § 106.36 (governing counseling);
    •   34 C.F .R. § 106.3 7 (governing financial assistance);
    •   34 C.F .R. § 106.3 8 (governing employment assistance to students);
    •   34 C.F.R. § 106.39 (governing health insurance benefits and services);
    •   34 C.F.R. § 106.40 (governing different rules based on marital or parental status of
        students);
    •   34 C.F.R. § 106.41 (governing athletics);
    •   34 C.F.R. § 106.43 (governing standards for measuring skill or progress in physical
        education classes); and
    •   34 C.F.R. §§ 106.51-106.61 (governing employment).

The University is exempt from these provisions to the extent that they prohibit discrimination on
the basis of sex in the University's decisions to fill positions requiring ordination and select
Bible preachers for University conferences and events, and compliance would conflict with the
controlling organization's religious tenets.




EXHIBIT B                                                                                               6
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Steve Pettit - page 3



Please note that this letter should not be construed to grant exemption from the requirements of
Title IX and the regulation other than as stated above. In the event that OCR receives a
complaint against your institution, we are obligated to determine initially whether the allegations
fall within the exemption here granted. Also, in the unlikely event that a complainant alleges
that the practices followed by the institution are not based on the religious tenets identified in
your request, OCR is obligated to identify a controlling organization to contact to verify those
tenets. If the organization provides an interpretation of tenets that has a different practical
impact than that described by the institution, or if the organization denies that it controls the
institution, this exemption will be rescinded.

I hope this letter responds fully to your request. If you have any questions, please do not hesitate
to contact me.

                                                      Sincerely,



                                                      Catherine E. Lhamon
                                                      Assistant Secretary for Civil Rights
                                                      U.S. Department of Education




EXHIBIT B                                                                                              7
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                             BOB JONES UNIVERSITY
                                                    EST. 1927




September 22, 2016



Ms. Catherine Lhamon, Assistant Secretary
U.S. Department of Education, Office for Civil Rights
Lyndon Baines Johnson Department of Education Building
400 Maryland Avenue, SW
Washington, DC 20202-1100

Re: Supplemental Request for Religious Exemption from Certain Applications of Title IX

Dear Ms. Lhamon:

This letter supplements Bob Jones University's April 1, 2016, Request for Religious Exemption
from Certain Applications of Title IX. The purpose of this supplemental request is to
supplement, expand, and clarify the scope of that exemption request. Nothing herein should be
construed as rescinding or withdrawing the specific provisions of that request.

I hereby request, under 20 U.S.C. § 1681(a)(3) and 34 C.F.R. § 106.12, that the Department of
Education's Office for Civil Rights acknowledge that Bob Jones University is exempt from Title
IX of the Education Amendments of 1972 and its accompanying regulations, to the extent that
they are interpreted to curtail the University's freedom to act in accordance with its religious
convictions. As president of Bob Jones University, I am the "highest ranking official of the
institution," 34 C.F.R. § 106.12(b), and thus qualified to seek these exemptions.

As stated in the April 1 request, and unchanged since that time, BJU is completely controlled by
a religious organization: its Board ofTrustees. 1 All board members are like-minded Christians
who are required annually to read and indicate consent to the University Creed, which states as
follows:


1 Bob Jones University Policy Manual, Vol. I, Bylaws, Article III, Section 1, p.8; Bob Jones University Policy

Manual, Volume I, Section 1.5.2.1, p.35.




EXECUTIVE OFFICES f 1700 Wade Hampton Blvd., Greenville, SC 29614 [ (864) 242-5roo [ fax (864) 233-9829 [ www,bju.edu
EXHIBIT B                                                                                                               8
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          The general nature and object of the corporation shall be to conduct an institution
          of learning for the general education of youth in the essentials of culture and in
          the arts and sciences, giving special emphasis to the Christian religion and the
          ethics revealed in the Holy Scriptures, combating all atheistic, agnostic, pagan,
          and so-called scientific adulterations of the Gospel, unqualifiedly affirming and
          teaching the inspiration of the Bible (both the Old and the New Testaments); the
          creation of man by the direct act of God; the incarnation and virgin birth of our
          Lord and Saviour, Jesus Christ; His identification as the Son of God; His
          vicarious atonement for the sins of mankind by the shedding of His blood on the
          cross; the resurrection of His body from the tomb; His power to save men from
          sin; the new birth through the regeneration by the Holy Spirit; and the gift of
          eternal life by the grace of God. This charter shall never be amended, modified,
          altered or changed as to the provisions hereinbefore set forth. 2

At each annual board meeting, all members are required 3 to read and indicate consent to the
general objectives of the University as set forth in the bylaws and charter, 4 the University's
philosophy of education statement, 5 and the Creed (copies of which are enclosed). Every
member of the Board is required to indicate that they have read the Board Handbook and Bylaws
and are in agreement with them. 6 Board members who can no longer agree to these items
disqualify themselves from membership. 7

Additionally, BJU serves a particular constituency of independent, fundamental churches, and its
mission is, in part, to develop individuals who are "engaged in service and leadership in a
biblically faithful local church."

Not only does the University rely on and require all members of its governing board to affirm the
University Creed, it also requires its faculty to do so as well, since the creed is foundational to all
that it does, including what is taught in its classes. 8 The Board of Trustees and the University
submit themselves to the Bible and to these expressions of its doctrine and seek to take positions
that are in accord with those standards.




2
  Bob Jones University Policy Manual, Vol. I, Preamble to Charter and Bylaws of Bob Jones University, p. 7.
3
  Bob Jones University Policy Manual, Vol. I, Section 1.4.1.3(1), p.21.
4 Bob Jones University Policy Manual, Vol. I, Preamble to Charter and Bylaws of Bob Jones University, p. 7.
5
  Bob Jones University Policy Manual, Vol. I, Section 1.2.3, p. 6.
6 Bob Jones University Policy Manual, Vol. I, Section 1.4.1.2(2), p. 21.
7
  Bob Jones University Policy Manual, Vol. I, 1.4.1.3(2), p.21.
8
  Bob Jones University Policy Manual, Vol. I, Preamble to Charter and Bylaws of Bob Jones University, p. 7;
Section, 1.4.1.3, p.21; Bob Jones University Policy Manual, Vol. IV, Section 4.5.2.1.1, p. 28.




    EXHIBIT B                                                                                                 9
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The Bob Jones University policy manual cites the passages of Holy Scripture that set forth the
criteria for ordained preachers and pastoral leadership. 9 Those passages reveal that ordained
preachers and pastoral leaders must be male. 10 Therefore, it is the University's sincerely held
religious belief that only males may be ordained to the preaching and pastoral leadership
ministry.

Because the University believes that only males may be ordained to these ministries:

        1) it admits only males to any program whose stated purpose is to prepare for a preaching or
           pastoral leadership ministry (such as, but not limited to, the Master of Ministry and
           Doctor of Ministry);

        2) it admits only males to any course whose stated purpose is to prepare for a preaching or
           pastoral leadership ministry (such as, but not limited to, homiletics, church
           administration, and pastoral leadership);

        3) only males may participate in those programs and courses, or any derivative or ancillary
           activities; and

       4) it employs only males to instruct and train those in programs or courses the purpose of
          which is to prepare for a preaching or pastoral leadership ministry.

Because only males are admitted to preaching and pastoral leadership ministry programs and
courses:

        1) scholarships, if any, specifically designed to assist those in such preaching and pastoral
           leadership programs and courses are available only to males;

       2) the University recruits only males to those programs and/or courses; and

       3) the University does not provide employment or job placement services, career
          counseling, or networking services for females in any preaching or pastoral leadership
          ministries, nor does it directly or indirectly assist any person or organization to do so.

Based upon the University's sincerely held belief that only males may be ordained to the
preaching and pastoral ministry, BJU requests, under 20 U.S.C. § 1681(a)(3) and 34 C.F.R. §
106.12, that the Department of Education's Office for Civil Rights acknowledge that BJU is
exempt from Title IX of the Education Amendments of 1972 and the following implementing

9
     Bob Jones University Policy Manual, Vol. I, Section 1.4.1.6, p. 24.
10
     1 Timothy 3; Titus 1.




    EXHIBIT B                                                                                           10
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September 22, 2016


regulations, to the extent that they are interpreted to curtail the University's freedom to apply and
enforce its belief that only males may be ordained to the pastoral leadership or preaching
ministry and to offer programs, courses, and ancillary services as set forth above to only males in
accordance with its theological commitments:

       34 C.F.R. § 106.21 (admission)
       34 C.F.R. § 106.22 (preference in admission)
       34 C.F.R. § 106.23 (recruitment)
       34 C.F.R. § 106.31 (education programs or activities)
       34 C.F.R. § 106.32 (housing)
       34 C.F.R. § 106.33 (comparable facilities)
       34 C.F.R. § 106.34 (access to classes and schools)
       34 C.F.R. § 106.36 (counseling)
       34 C.F.R. § 106.37 (financial assistance)
       34 C.F.R. § 106.38 (employment assistance to students)
       34 C.F.R. § 106.39 (health and insurance benefits and services)
       34 C.F.R. § 106.40 (marital or parental status)
       34 C.F.R. § 106.41 (athletics)
       34 C.F.R. § 106.43 (standards for measuring skill or progress in physical education
       classes)
       34 C.F.R. § 106.51-61 (relating to employment)

Thank you in advance for your consideration. I look forward to hearing from you soon. If you
require anything further, please do not hesitate to contact me.




Bob Jones University


Enclosures




EXHIBIT B                                                                                         11
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                              UNITED STATES DEPARTMENT OF EDUCATION
                                                  OFFICE FOR CIVJL RIGHTS
                                                                                            THE ASSISTANT SECRE'TARY
                                                November 17, 2016

Steve Pettit
President
Bob Jones University
1700 Wade Hampton Blvd.
Greenville, SC 29614

Dear President Pettit:

I write to respond to your September 22, 2016, letter to the U.S. Department of Education's
Office for Civil Rights (OCR), in which you requested a religious exemption for Bob Jones
University (University) of Greenville, South Carolina, from Title IX of the Education
Amendments of 1972 (Title IX), 20 U. S.C. § 1681. Title IX prohibits discrimination on the basis
of sex in any education program or activity operated by a recipient of Federal financial
assistance.

Title IX and its implementing regulation at 34 C.F.R. § I 06.12 provide that Title IX does not
apply to an educational institution controlled by a religious organization to the extent that
application of Title IX would be inconsistent with the controlling organization's religious tenets.
Therefore, such educational institutions are allowed to request an exemption from Title IX by
identifying the provisions of Title IX that conflict with a specific tenet of the religious
organization. The request must identify the religious organization that controls the educational
institution and specify the tenets of that organization and the provisions of the law or regulation
that conflict with those tenets.

Your September 22 letter notes that it supplements your April I, 2016, request for a religious
exemption, which OCR granted by letter dated June 17, 2016. Your request explains that
members of the University's Board of Trustees, which "completely control(s]" the University,
are "like-minded Christians who are required annually to read and indicate consent to the
University Creed." According to your letter, the Creed states that the "general nature and object
of' the University is to "conduct an institution of learning ..., giving special emphasis to the
Christian religion and the ethics revealed in the Holy Scriptures." Your letter goes on to state
that Board members must also annually "read and indicate consent to the general objectives of
the University as set forth in the bylaws and charter [and] the University's philosophy of
education statement." You explain that faculty is also required "to affirm the University Creed .
. . , since the creed is foundational to all that [the University] does, including what is taught in its
classes."

You request an exemption to the extent that Title IX or its implementing regulations "are
interpreted to curtail the University's freedom to apply and enforce its belief that only males may
be ordained to the pastoral leadership or preaching ministry and to offer programs, courses, and
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                                  by .fostering educational excellence and ensurin g equal ,1ccess.


  EXHIBIT B                                                                                                                12
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ancillary services as set forth [in the September 22 letter] to only males in accordance with its
theological commitments." In support of this request, you explain that the University's "policy
manual cites the passages of Holy Scripture that set forth the criteria for ordained pastoral
leaders," including that "only males may be ordained to the preaching and pastoral leadership
ministry."

You state that, for these reasons, the University is requesting an exemption from the following
regulatory provisions to the extent they "are interpreted to curtail the University's freedom to
apply and enforce its belief that only males may be ordained to the pastoral leadership or
preaching ministry and to offer programs, courses, and ancillary services ... to only males in
accordance with its theological commitments:"

    •   34 C.F.R. § 106.21 (governing admission);
    •   34 C.F .R. § 106.22 (governing preference in admission);
    •   34 C.F .R. § 106.23 (governing recruitment of students);
    •   34 C.F.R. § 106.31 (governing education programs or activities);
    •   34 C.F .R. § 106.32 (governing housing);
    •   34 C.F.R. § 106.33 (governing comparable facilities such as restrooms and locker
        rooms);
    •   34 C.F.R. § 106.34 (governing access to classes and schools);
    •   34 C.F.R. § 106.36 (governing counseling);
    •   34 C.F.R. § l 06.37 (governing financial assistance);
    •   34 C.F.R. § 106.38 (governing employment assistance to students);
    •   34 C.F.R. § 106.39 (governing health insurance benefits and services);
    •   34 C.F.R. § 106.40 (governing different rules based on marital or parental status of
        students);
    •   34 C.F.R. § 106.41 (governing athletics);
    •   34 C.F.R. § 106.43 (governing standards for measuring skill or progress in physical
        education classes); and
    •   34 C.F .R. §§ 106.51-106.61 (governing employment).

The University is exempt from these provisions to the extent that they prohibit discrimination on
the basis of sex in education programs and activities for individuals ordained to the pastoral
leadership or preaching ministry, and that prepare individuals for the pastoral leadership or
preaching ministry, including programs, courses, and ancillary services, and compliance would
conflict with the controlling organization's religious tenets.

Please note that this letter should not be construed to grant exemption from the requirements of
Title IX and the regulation other than as stated above. In the event that OCR receives a
complaint against your institution, we are obligated to determine initially whether the allegations
fall within the exemption here granted. Also, in the unlikely event that a complainant alleges
that the practices followed by the institution are not based on the religious tenets identified in
your request, OCR is obligated to identify a controlling organization to contact to verify those




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tenets. If the organization provides an interpretation of tenets that has a different practical
impact than that described by the institution, or if the organization denies that it controls the
institution, this exemption will be rescinded.

I hope this letter responds fully to your request. If you have any questions, please do not hesitate
to contact me.

                                                       Sincerely,



                                                       Catherine E. Lhamon
                                                       Assistant Secretary for Civil Rights
                                                       U.S. Department of Education




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                            U ITED         AT·     DEPARTME T OF EDUCATION
                                                  FflCE FOR Cl IL RIGl-rrs
                                                                                          THE A SISTANT     ECRET/\RY




                                                 December 21 2017

Steve Pettit
Pre ident
Bob Jones niversity
1700 Wade Hampton Blvd.
Green vi lie. SC 29614

Dear President Pettit:

I write in re pon e to your April 5, 20 I7 letter to the U.S. Department of Education s Office for
Civil Rights (OCR). in which you requested a religious exemption for Bob Jones Universit
( niversity) of Greenville, South Carolina, from Title fX of the Educational Amendments of
1972 (Title lX). 20 .S. . § 1681.

Title IX prohibit discrimination on the basis of sex in any education program or activity
operated by a recipient of Federal financial assistance. Title IX and its implementing regulation
at 34 C.F.R. § I 06.12 pr vide that Title IX doe not apply to an educational institution that is
controlled b a religious organization to the extent that the application of Title IX would be
inconsistent with the controlling organization's religious tenets. Therefore, such educational
institutions may request an exemption from Title IX by identifying the provisions of Title IX that
conflict with a pecific tenet of the religious organization. The request must identify the religiou
organization that controls the educational institution and specify the tenets of that organization
and the provisions of the law or regulation that conflict with those tenets.

Your request I ner states that the University is ··completely controJled' by its Board of Tru tees,
the members of which are ·'like-minded Christians who are required annually to read and
indicate consent to the University Creed." According to your letter, the Creed states that the
--general nature and object of the University is to "conduct an institution of learning ... , giving
special emphasis to the hristian religion and the ethics revealed in the Holy Scriptures.' Your
letter goe on to state that Board members must also annually ''read and indicate consent to the
general objectives of the University as set forth in the bylaws and charter [and] the Uni er ity·
philosophy of education statement.· You explain that faculty members are also required "to
affinn the Uni ersity Creed. . . since the creed is foundational to all that the University does,
including, hat i taught in its classes:·

Your letter reque ts exemption from certain pro 1s10n of Title IX and its impl.ementing
regulation· to the xtent they restrict the Univer ity's freedom to apply and enforce its position
on the sanctity of human life. and to the extent they are interpreted to reach sexual orientation or
gender identity. In support of this request your letter cites the University's position statement on
the sanctit of life. which explains that ..followers of Jesus Christ who are governed by the
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                                                www.cd.gov
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authorit of the Bible are ethically obligated to preserve promote, and defend the sanctity of
human Iife, and that the Uni ersity therefore opposes ·"the practice of abortion on the grounds
that it involves the intentional, purposeful, and direct ending of a human life that began at
conception," "suicide on the grounds that God owns human life" and "all forms of euthanasia,
since God re erve the right to determine life's end.' Your letter further states that "God created
man and woman in His image," that ..[m)arriage is a covenantal life-long relationship between a
woman and a man who were ph sical ly created and assigned these genders by God" and that the
Bible prohibits '·any consen ual exual acti ity outside the boundaries of heterosexual marriage:·
Finally, your letter cites the University's position on gender identity, which provides that
"individual gender is assigned by God and determined at conception·• and "that to intentionally
alter or change one's ph sical gender or to live as a gender other than the one assigned at
conception is to reject God's right as Creator to assign gender to His creatures."

Your letter states that, for the above reasons, the Univer ity is requesting an exemption from the
foll wing regulat ry provision to the extent they restrict the University's freedom to appl_ and
enforce its position on the sanctity of human life and to the extent they are interpreted to reach
sexual orientation or gender identity:
    • 34 C.F.R. § 106.21 (governing admission);
    • 34 C.F.R. § 106.22 (governing preference in admission);
    • 34 C.F.R. § 106.23 (governing recruitment of students)·
                     *
    • 34 C.F.R. 106.31 (governing education programs or activities)·
    • 34 C.F.R. § 106.32 (governing housing);
    • 34 C.F.R. § 106.33 (governing comparable facilities);
    • ..,4 C.F.R. · I 06.34 (governing acces to classes and schools)·
    • 34 C.F.R. § 106.36 (governing counseling);
    • "4 C.F.R. § 106.37 (governing financial assistance);
    • ...4 C.F.R. § I 06.38 (governing employment as istance to students);
    • ..,4 C.F.R. 106.39 (governing health and insurance benefits and services);
    • 34 C.f.R . .' 106.40 (governing marital or parental status)·
    • 34 C.F.R. § I 06.41 (governing athletics):
    • 34 C.F.R. § l 06.43 (go erning standards for measuring skill or progress in physical
       education cla ses): and
    • 34 C.F.R. ~§ 106.51-61 (governing employment).

The University i exempt from these provisions to the extent that compliance would conflict v ith
the controlling organization's religious tenets.

Ph;;ase note that this letter should not be construed to grant ex.emption from the requirements of
Titl IX and the regulation other than as stated above. In the event that OCR receives a complaint
against our institution, we are obligated to determine initially whether the allegalions fall within
the exemption here recognized.




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I hope this letter fully responds to your request. If you have any furtherquestions please do not
hesitate to contact me.

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    9--11JL
 andice Jackson
Acting A sistant Secretary for   ivil Rights




EXHIBIT B                                                                                           17
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                                    BOB JONES UNIVERSI1Y
                                                              EST. 1927




     April 5, 2017

     Sandra Battle, Acting Assistant Secretary
     U.S. Department of Education, Office for Civil Rights
     Lyndon Baines Johnson Department of Education Building
     400 Maryland Avenue, SW
     Washington, DC 20202-1100

         Re: Religious Exemption from Certain Applications of Title IX
Dear Ms. Battle:

        I hereby request, under 20 U.S.C. § 1681 (a)(3) and 34 C.F.R. § 106.12, that the Department
of Education's Office for Civil Rights (OCR) acknowledge that Bob Jones University is exempt
from Title IX of the Education Amendments of 1972 and its accompanying regulations, to the
extent that they are interpreted to curtail the University's freedom to act in accordance with its
religious convictions. As President of Bob Jones University, lam the "highest ranking official of
the institution," 34 C.F.R. § 106.12(6 ), and thus qualified to seek these exemptions.

        Bob Jones University ("BJU" or "the University") was founded in 1927 as a Christ­
centered institution of higher education, emphasizing theology and the arts. 1 BJU is committed,
"[w]ithin the cultural and academic soil of liberal arts higher education," to "grow[ing] Christlike
character that is scripturally disciplined, others-serving, God-loving, Christ-proclaiming and
focused above.' 2

       BJU is completely controlled by a religious organization: its Board of Trustees.3 All
board members are like-minded Christians who are required annually to read and indicate
consent to the University Creed, which states as follows:

1
    See http://www.bju.edu/about/history.php.
2 See http://www.bju.edu/about/mission-statement.php.
3 Bob Jones University Policy Manual
                                      , Vol. r, Bylaws, Article Ill, Section I, p. 8; Bob Jones University Policy
Manual, Volume I, Section 1.5.2.1, p. 35.




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       EXHIBIT B                                                                                                                             18
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        The general nature and object of the corporation shall be to conduct an institution
        of learning for the general education of youth in the essentials of culture and in
        the arts and sciences, giving special emphasis to the Christian religion and the
        ethics revealed in the Holy Scriptures, combating all atheistic, agnostic, pagan,
        and so-called scientific adulterations of the Gospel, unqualifiedly affirming and
        teaching the inspiration of the Bible (both the Old and the New Testaments); the
        creation of man by the direct act of God; the incarnation and virgin birth of our
        Lord and Saviour, Jesus Christ; His identification as the Son of God; His
        vicarious atonement for the sins of mankind by the shedding of His blood on the
        cross; the resurrection of His body from the tomb; His power to save men from
        sin; the new birth through the regeneration by the Holy Spirit; and the gift of
        eternal life by the grace of God. This charter shall never be amended, modified,
        altered or changed as to the provisions hereinbefore set forth. 4

        At each annual board meeting, all members are required 5 to read and indicate consent to
the general objectives of the University as set forth in the bylaws and charter, 6 the University's
philosophy of education statement,7 and the Creed (copies of which are enclosed). Every
member of the Board is required to indicate that they have read the Board Handbook and Bylaws
and are in agreement with them. 8 Board members who can no longer agree to these items
disqualify themselves from membership. 9

         Additionally, BJU serves a particular constituency of independent, fundamental churches,
and its mission is, in part, to develop individuals who are "engaged in service and leadership in a
biblically faithful local church." 10

        Not only does the University rely on and require all members of its governing board to
affirm the University Creed, it also requires its faculty to do so as well, since the Creed is
foundational to all that the University does, including what is taught in its classes. 11 The Board
of Trustees and the University submit themselves to the Bible and to these expressions of its
doctrine and seek to take positions that are in accord with those standards.



4
  Policy Manual, Vol. I, Preamble to Charter and Bylaws of Bob Jones University, p. 7.
5
  Policy Manual, Vol. I, Section 1.4.1.3(1), p. 21.
6
  Policy Manual, Vol. I, Preamble to Charter and Bylaws of Bob Jones University, p. 7.
7
  Policy Manual, Vol. I, Section 1.2.3, p. 6.
8
  Policy Manual, Vol. I, Section 1.4.1.2( I), p. 21.
9
  Bob Jones University Policy Manual, Vol. r, 1.4.1.3(2), p. 21.
w See http://www.bju.edu/about/creed-mission.php.
11
   Policy Manual, Vol. f, Preamble to Charter and Bylaws of Bob Jones University, p. 7; Section, 1.4.1.3, p. 21;
Policy Manual, Vol. IV, Section 4.5.2.1.1, p. 28.




    EXHIBIT B                                                                                                      19
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        Therefore, consistent with a biblical interpretation of the value of life, BJU has developed
a position statement on the sanctity of life, which states in relevant part:

       We believe that followers of Jesus Christ who are governed by the authority of the
       Bible are ethically obligated to preserve, promote, and defend the sanctity of human
       life.

       We believe that when dealing with areas of uncertainty and ethical dilemmas we
       should take the safest possible course and promote life. Jesus teaches this principle
       of carefulness in the Sermon on the Mount when He instructs His followers not
       only to avoid killing, but to cease from any activity or passion that increases one's
       proclivity toward murder (Matt. 5 :21-22).

       We believe that the Bible consistently depicts fetal life as both personal and human.
       And we believe that our thinking about issues related to contraception, the
       harvesting of embryonic stem cells, and aborticides should be governed
       accordingly.

       Therefore, we oppose the practice of abortion on the grounds that it involves the
       intentional, purposeful, and direct ending of a human life that began at conception.
       We oppose the causation of the death of an unborn human child even if there is a
       conflict between the survival of the mother and the survival of the unborn child.

       In very rare cases when it is medically determined that continuing a pregnancy
       would jeopardize the physical life of the mother, we would support treatment to
       preserve the Iife of the mother short of abortion.

       We oppose suicide on the grounds that God owns human life. (The Bible nowhere
       depicts suicide as a commendable personal choice [l Sam. 31 :4; 2 Sam. 17:23; I
       Kings 16:18-20; Matt. 27:5; Acts 1:18].)

       We oppose all forms of euthanasia, since God reserves the right to determine life's
       end (1 Cor. 6: 19-20; Job 14:5).

       We recognize that scientific advances have raised significant ethical questions
       concerning the indefinite prolongation of life through medical support systems.
       These questions have to be handled individually by the family of those suffering.
       But in general, we believe that although Christians should sustain life wherever
       possible, we are not obligated to prolong the process of dying.




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           We reserve the right to make institutional decisions consistent with these positions
           for employment, hiring, retention, student admissions, discipline and all other
           matters. 12

For that reason, I request, under 20 U.S.C. § 168l(a)(3) and 34 C.F.R. § 106.12, that OCR
acknowledge that BJU is exempt from Title IX of the Education Amendments of 1972 and its
accompanying regulations, to the extent that they are interpreted to curtail BJU's freedom to apply
and enforce its position on the sanctity of human life in accordance with its theologically-grounded
convictions.

        Additionally, consistent with historic understanding of the Holy Scriptures and our
doctrinal standards, BJU affirms the following regarding sexual conduct:

           The Scriptures teach that God created man and woman in His image (Gen. 1:27-
           28), brought them together in the life-long covenant relationship of marriage and
           blessed this union (Gen. 1:28). Furthermore, the Scriptures make plain that this first
           marriage was intended to be an authoritative pattern for all future human marriages
           as evidenced by the teachings of Moses (Gen. 2:18-24), the Wisdom books (Prov.
           12:4; 18:22; 31: 10; Eccles. 9:9), the Prophets (Mal. 2: 13-16), the Apostles (1 Cor.
           7:1-16; Eph. 5:21-33; Col. 3:14-19; Heb. 13:4; 1 Pet. 3:1-7), and Jesus Himself
           (Matt. 19:4-6; Mark 10: 1-9).

           Marriage is a covenantal life-long relationship between a woman and a man who
           were physically created and assigned these genders by God (Gen. 1:27; Ps. 139: 13-
           16; Matt. 19:4; Mark 10:6). We believe God intended heterosexual marriage for the
           propagation of the human race and the loving expression of healthy relational and
           sexual intimacy, and to picture the covenant relationship He has with all believers
           (Eph. 5:22-33).

           Human sexuality is part of God's divine design for human beings (Gen. 1:28).
           However, the Bible restricts all forms of consensual sexual activity to within the
           boundaries of the marriage relationship (1 Cor. 7:1-5; Heb. 13:4). The Bible clearly
           prohibits not only non-consensual sexual misconduct (Deut. 22:25-27) but also any
           consensual sexual activity outside the boundaries of heterosexual marriage (1
           Thess. 4: 1-8). Furthermore the Bible specifically names as sinful and prohibits any
           form of sexual activity between persons of the same sex (Rom. 1:26-27; 1 Cor. 6:9-
           10; 1 Tim.1:10),polygamy(Matt.19:4-6;       1 Cor. 7:11),incest(Lev.18:6-18;   1 Cor.
           5:1), bestiality (Exod. 22:19; Lev. 18:23; 20:15-16; Deut. 27:21; Gal. 5:19; Eph.
           5:3; Col. 3:5), adultery (Exod. 20:14; Mark 10:19; Luke 18:20; James 2:11), and


12
     See http://www.bju.edu/about/positions.php.




 EXHIBIT B                                                                                                21
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          fornication of any sort including pornography (l Cor. 6:9-1 O; l Thess. 4:3-8; Lev.
          18:20). 13

         BJU, in service to the Church, understands that some with Christian faith may struggle
with same-sex attraction. But, BJU, consistent with Scriptural teaching, affirms that sexual
activities with members of the same sex cannot be condoned as acceptable expressions of one's
sexuality. As you are aware, the EEOC has begun declaring that the ban on sex discrimination in
Title VII of the Civil Rights Act of 1964 also forbids discrimination on the basis of sexual
orientation. 14

        It is conceivable that OCR could interpret Title IX of the Education Amendments of 1972
the same way. To the extent these suppositions are correct, it appears as though compliance with
Title IX, if interpreted by ED OCR to reach sexual orientation discrimination, would also be
inconsistent with the theological commitment of BJU. BJU, therefore, also claims exemption on
this basis out of an abundance of caution.

        Finally, consistent with these theological standards, the University has developed a position
statement addressing gender identity (enclosed). That statement provides in pertinent part as
follows:

           God created man and woman in His image as two distinct but equal genders which
           He intends to use for His glory (Gen. I :26-27). Furthermore, individual gender is
           assigned by God and determined at conception (Ps. 139: 13-16). Therefore we
           believe that to intentionally alter or change one's physical gender or to live as a
           gender other than the one assigned at conception is to reject God's right as Creator
           to assign gender to His creatures and is a personal rejection of His plan to glorify
           Himself through the original gender He assigned that individual (1 Cor. 10:31 ).

           Because the positions set forth in this statement are grounded in the biblical, moral
           and ethical commands clearly taught and demanded by Scripture, BJU expects all
           employees and students enrolled at BJU to agree with and abide by this statement
           on marriage, human sexuality, and gender identity.


         As you know, OCR has issued a "Dear Colleague" letter jointly with the Department of
Justice, which states that Title IX's prohibition on sex discrimination "encompasses discrimination
based on a student's gender identity, including discrimination based on a student's transgender



13
     See http://www.bju.edu/about/positions.php.
14
     See http://www.eeoc.gov/decisions/O 120133080.pdf.




 EXHIBIT B                                                                                              22
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status." 15 That is, a school "must not treat a transgender student differently from the way it treats
other students of the same gender identity." 16

        OCR's letter indicated that a school must use pronouns and names that reflect a transgender
student's gender identity, and permit the student full access, based upon gender identity, to sex-
segregated activities and facilities, including locker rooms, restrooms, showers, housing (including
overnight acconunodations), and athletic teams. 17 And as you also know, OCR previously issued
guidance on sexual violence prevention which incorporates discrimination based on "gender
identity" as part of "sex discrimination" under the statute. 18

         Moreover, the resolution agreement 19 between the Arcadia Unified School District and
OCR (and the Department of Justice) requires that school district to permit transgender students
to use the restroom, locker room, and living accommodations of their choice, and to participate in
athletic programs as a member of the sex to which they believe they belong. 20 It is thus reasonable
to suppose that OCR believes that Title IX requires such responses.

           It is also reasonable to presume that your office interprets Title IX to impose gender identity
non-discrimination obligations upon covered institutions in the employment context. To the extent
these suppositions are correct, it appears as though compliance with Title IX, as interpreted by
OCR to reach transgender discrimination, would be inconsistent with the religious tenets of the
University.

       For that reason, I request, under 20 U.S.C. § 1681 (a)(3) and 34 C.F.R. § 106.12, that OCR
acknowledge that BJU is exempt from Title IX of the Education Amendments of 1972 and its
accompanying regulations, to the extent that they are interpreted to curtail BJU's freedom to
respond to transgender individuals in accordance with its theologically-grounded convictions.

        All of us are sinners. We live in a world broken by sin and are called to live out our biblical
beliefs among those who may disagree with us. We desire to do so in ways that honor God and
point them to Him (] Pet. 1: 11-12). We believe every person must be treated with respect and

15
     U.S. Department of Justice and U.S. Department of Education, Dear Colleague Letter on Transgender Students,
available at http://www2.ed.gov/about/offices/list/ocr/letters/coIleague-201605-title-ix-transgender.pdf.
16
   Id. at p. 2.
11 Id.
18
   U.S. Department of Education, Questions and Answers on Title IX and Sexual Violence, available at
http://www2.ed.gov/about/offices/list/ocr/docs/ga-201404-title-ix.pdfat 5 ("Title !X's sex discrimination prohibition
extends to claims of discrimination based on gender identity or failure to conform to stereotypical notions of
masculinity or femininity and OCR accepts such complaints for investigation.")
19
   Resolution Agreement Between the Arcadia Unified School District, the U.S. Department of Education, Office for
Civil Rights, and the U.S. Department of Justice, Civil Rights Division, available at
http://www.justice.gov/sites/default/files/crt/legacy/2013/07/26/arcadiaagree.pdf.
20 Id.




     EXHIBIT B                                                                                                     23
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compassion and are committed to living out our commitments to these biblical standards with
grace and humility. We also believe that we are called to speak God's truth in love (Eph. 4:15) as
we call all men to recognize that all human sinfulness is an offense to God (Rom. 3: l 0-11; Rom.
6:23a), that God has displayed immense grace and mercy toward all sinners (Eph. 2: 1-10), and that
He offers a full and free forgiveness through Jesus Christ to all who repent and forsake their sin
and tum in faith to Him (Acts 3: 19-21; Rom. 6:23; 10:9- 10; 1 Cor. 6:9-11; 1 John I :8-9). 21

       BJU accordingly requests that your office acknowledge that the BJU is exempt from Title
IX and the following implementing regulations (to the extent they restrict BJU's freedom to apply
and enforce its position on the sanctity of human life, and to the extent they are interpreted to reach
sexual orientation or gender identity):

           34 C.F.R. § 106.21 (admission)
           34 C.F.R. § 106.22 (preference in admission)
           34 C.F.R. § 106.23 (recruitment)
           34 C.F.R. § I 06.31 (education programs or activities)
           34 C.F .R. § 106.32 (housing)
           34 C.F.R. § I 06.33 (comparable facilities)
           34 C.F.R. § 106.34 (access to classes and schools)
           34 C.F.R. § 106.36 (counseling)
           34 C.F.R. § 106.3 7 (financial assistance)
           34 C.F.R. § 106.38 (employment assistance to students)
           34 C.F.R. § 106.39 (health and insurance benefits and services)
           34 C.F.R. § 106.40 (marital or parental status)
           34 C.F .R. § 106.41 (athletics)
           34 C.F.R. § 106.43 (standards for measuring skill or progress in physical education
           classes)
           34 C.F.R. § 106.51-61 (relating to employment)

       Thank you in advance for your consideration. I look forward to hearing from you soon. If
you require anything further, please do not hesitate to contact me.




              , ob Jones University



21
     See http://www.bju.edu/about/positions.php.




     EXHIBIT B                                                                                            24
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Charter and Bylaws of Bob Jones University

Preamble

The basic principles of all bylaws or rules and regulations of Bob Jones University shall be the
fundamental truths embodied in the University Creed as perpetuated in the charter of the institution as
follows:

        The general nature and object of the corporation shall be to conduct an institution of
        learning for the general education of youth in the essentials of culture and in the arts
        and sciences, giving special emphasis to the Christian religion and the ethics revealed in
        the Holy Scriptures, combating all atheistic, agnostic, pagan, and so-called scientific
        adulterations of the Gospel, unqualifiedly affirming and teaching the inspiration of the
        Bible (both the Old and the New Testaments); the creation of man by the direct act of
        God; the incarnation and virgin birth of our Lord and Saviour, Jesus Christ; His
        identification as the Son of God; His vicarious atonement for the sins of mankind by the
        shedding of His blood on the cross; the resurrection of His body from the tomb; His
        power to save men from sin; the new birth through the regeneration by the Holy Spirit;
        and the gift of eternal life by the grace of God. This charter shall never be amended,
        modified, altered or changed as to the provisions hereinbefore set forth.

All resolutions, motions and actions of the Board of Trustees of the University and the Executive
Committee shall be construed and interpreted in the light of this creed. All resolutions, motions or
actions by the Board of Trustees, the Executive Committee, the faculty, or any officer or agent of the
University which are contrary to the fundamental principles set forth in the creed are hereby declared to
be null and void. It shall be the duty of the Executive Committee hereinafter provided for to keep a strict
supervision over the affairs of the University and at all times to protect, uphold and defend the creed
and all other bylaws and rules and regulations of the University lawfully adopted.




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1.2.3 Christian Philosophy of Education

Christian education at BJU is a spiritual ministry that has as its purpose to further the process of spiritual
development in the image of God. BJU endeavors to teach students to know God and to imitate Him in
His character and in His works. This commitment embraces all that is done in and out of the classroom.
Knowledge of the written Word of God, the Bible, remains at the center. The academic studies radiate
from this center as studies of God's works. Biblical truth is not confined to the required Bible courses but
is diffused throughout the curriculum.

Yet to know God implies more than just knowledge about God. The knowledge of God that is unique to
Christian education is a personal knowledge that begins with repentance of sin and faith in Jesus Christ
as Savior and develops through obedience to and communion with God. To know God is to be born into
the family of God and to live in fellowship with Him. With this knowledge as the starting point, student
attention is directed outward to the full range of natural facts and human experience and to
formulations of that experience in history and philosophy, literature and art-all    as reflective of the
work of God intersecting with the work of man. The student develops a worldview coherent with the
work of God in his life.

The work of God in a student's life is a process of his imitating God in his character and service.
Accordingly, BJU faculty and Administration urge students onward in this process and provide an
environment structured toward this purpose. As in secular education, the environment of Christian
education is artificially selective, including elements favorable to its purpose and suppressing those
unfavorable to it. BJU does not apologize for the prescriptiveness of the educational experience here. Its
character goals require it.

BJU also provides students with ministry opportunities so it becomes natural to them to live out their
beliefs in service to God and to others. Students are requested to have weekend ministries of various
sorts both in the immediate area and in surrounding states as well. The University keeps before all its
students their responsibility to share the Gospel and minister to others.




 EXHIBIT B                                                                                                   26
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Bob Jones University Creed

I believe in the inspiration of the Bible (both the Old and the New Testaments); the creation of man by
the direct act of God; the incarnation and virgin birth of our Lord and Saviour, Jesus Christ; His
identification as the Son of God; His vicarious atonement for the sins of mankind by the shedding of His
blood on the cross; the resurrection of His body from the tomb; His power to save men from sin; the
new birth through the regeneration by the Holy Spirit; and the gift of eternal life by the grace of God.




 EXHIBIT B                                                                                                 27
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Statement about Gender Identity

God created man and woman in His image as two distinct but equal genders which He intends to use for
His glory (Gen. 1:26-27). Furthermore, individual gender is assigned by God and determined at
conception (Ps. 139:13-16). Therefore we believe that to intentionally alter or change one's physical
gender or to live as a gender other than the one assigned at conception is to reject God's right as
Creator to assign gender to His creatures and is a personal rejection of His plan to glorify Himself
through the original gender He assigned that individual (1 Car. 10:31).




 EXHIBIT B                                                                                              28
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                                                                             Sandra Battle, Acting Assistant Secretary
                                                                             U.S. Department of Education, Office for Civil Rights
                                                                             Lyndon Baines Johnson Department of Education Building
                                                                             400 Maryland Avenue, SW
                                                                             Washington, DC 20202-1100




    EXHIBIT B                                                                                                                                                                    29
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